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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


   JOHN DOE,                                    )
                                                )
   Plaintiff,                                   )
                                                )
                                vs.             )        1:17-cv-02790-RLY-DML
                                                )
   DEPAUW UNIVERSITY,                           )
   JANE ROE,                                    )
   ALAN HILL,                                   )
   JULIANN SMITH,                               )
                                                )
   Defendants.                                  )



                         Courtroom Minutes for August 23, 2017

                        Before the Hon. Richard L. Young, Judge

        Comes now the Plaintiff, in person and by Gregory Bowes and Bridget Farren. The
 DePauw defendants appear by Michael Rabinowitch and Elizabeth Schmitt and Defendant
 Roe by Joel Stein for the hearing on Motion for Temporary Restraining Order filed by
 Plaintiff.

        Plaintiff’s Motion for Permission to Proceed Under a Pseudonym is GRANTED.

      The court hears argument from the counsel and witness testimony and the Motion
 for Temporary Restraining Order/Preliminary Injunction is TAKEN UNDER
 ADVISMENT.

        Any Findings of Fact and Conclusions of Law shall be filed no later than noon on
 Friday, August 25, 2017.




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